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 3   Las Vegas, Nevada 89145
     Telephone: (702) 742-2055
 4   Facsimile: (702) 920-8838
     Lucas@gaffneylawlv.com
 5   Attorney for Rosanna Stroud

 6                               UNITED STATES DISTRICT COURT

 7                                    DISTRICT OF NEVADA

 8                                                )
                                                  )
     UNITED STATES OF AMERICA,                    )
 9                                                )   CASE NO: 2:16-cr-00230-GMN-CWH
                    Plaintiff,                    )
10                                                )   UNOPPOSED MOTION TO CONDUCT A
                    vs.                           )   PRE-PLEA PRESENTENCE
11                                                )   INVESTIGATION REPORT AND
     ROSANNA STROUD,                              )   PROPOSED ORDER
                                                  )
12                  Defendant.                    )
                                                  )
13                                                )
                                                  )
14          COMES NOW, ROSANNA STROUD, by and through her attorney of record, LUCAS
15   J. GAFFNEY, ESQ., of the law firm GAFFNEY LAW, and hereby moves this Honorable

16   Court to order the United States Department of Parole & Probation to conduct a pre-plea
     presentence investigation report of ROSANNA STROUD.
17
            This request is based upon the pleadings and papers on file herein, the attached
18
     Memorandum of Points and Authorities, and any oral argument the Court may entertain.
19

20   Dated this 28th day of December, 2017.
                                                       /s/ Lucas J. Gaffney
21
                                                       LUCAS J. GAFFNEY, ESQ.
                                                       Nevada Bar No. 12373
22
                                                       1050 Indigo Drive, Suite 120
                                                       Las Vegas, NV 89145
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                                                       Attorney for Rosanna Stroud
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 1                      MEMORANDUM OF POINTS AND AUTHORITIES

 2   I.      STATEMENT OF FACTS

 3           On September 14, 2016, a federal grand jury sitting in Clark County, Nevada returned a

 4   Superseding Criminal Indictment charging the Defendant, Rosanna Stroud (hereinafter

 5   “Stroud’), with one count of Conspiracy to Distribute Controlled Substances in violation of 18

 6   U.S.C. §§ 841(a)(1), (b)(1)(C) and 846.

 7   II.     LEGAL ARGUMENT

 8           A presentence investigation may be initiated prior to entry of a guilty plea or nolo

 9   contendere or prior to the establishment of guilt. See generally Fed. R. Crim. P. 32.

10           Counsel requires a pre-plea presentence investigation report to accurately determine

11   Ms. Stroud’s criminal history score.

12           Counsel understands that Ms. Stroud does not have prior felony convictions. However,

13   counsel cannot accurately calculate Ms. Stroud’s criminal history score because she appears to

14   have additional criminal history in other jurisdictions. Additionally, Ms. Stroud may have

15   criminal history under additional aliases or personal identifiers which are not known to

16   counsel. As such, counsel cannot accurately predict Ms. Stroud’s criminal history score

17   without the information that would be provided in a pre-plea presentence investigation report.

18           Ms. Stroud’s criminal history score will drastically impact the potential plea agreement

19   currently being considered, and her sentencing exposure. In addition, the timing of Ms.

20   Stroud’s prior convictions could impact her sentencing guideline range and criminal history

21   score. A pre-plea presentence investigation report will promote judicial economy and could

22   greatly expedite the manner in which this case is resolved.

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 1          Ms. Stroud consents to the pre-plea presentence investigation, and the Government,

 2   through Robert Knief, has indicated it has no objection to the instant request.

 3          Therefore, undersigned counsel respectfully requests this Honorable Court issue an

 4   Order directing the United States Department of Parole & Probation to conduct a pre-plea

 5   presentence investigation report of Ms. Stroud.

 6   III.   CONCLUSION

 7          Based on the foregoing, Defendant asks this Court to grant her Motion to Conduct a

 8   Pre-Plea Presentence Investigation Report. Defendant further requests this Court order the

 9   United States Department of Parole & Probation to conduct a pre-plea presentence

10   investigation report of Ms. Stroud as soon as possible.

11

12   Dated this 28th day of December, 2017.

13                                                        /s/ Lucas J. Gaffney
                                                          LUCAS J. GAFFNEY, ESQ.
14                                                        Nevada Bar No. 12373
                                                          1050 Indigo Drive, Suite 120
15                                                        Las Vegas, NV 89145
                                                          Attorney for Rosanna Stroud
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 1
                                UNITED STATES DISTRICT COURT
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                                    DISTRICT OF NEVADA
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                                                )
 4                                              )
     UNITED STATES OF AMERICA,                  )
                                                ) CASE NO: 2:16-cr-00230-GMN-CWH
 5                 Plaintiff,                   )
                                                )
 6                 vs.                          )
                                                )                 ORDER
 7   ROSANNA STROUD,                            )
                                                )
                   Defendant.                   )
 8                                              )
                                                )
 9                                              )

10         IT IS HEREBY ORDERED that that the United States Department of Parole and
11   Probation will prepare a Pre-Plea Presentence Investigation Report on Defendant ROSANNA
12   STROUD.
13         DATED this _____
                       29 day of ______________,
                                   December      __________.
                                                    2017

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                                                        ________________________________
15                                                      UNITED STATES DISTRICT JUDGE
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 1                          CERTIFICATE OF ELECTRONIC SERVICE

 2            The undersigned hereby certifies that I am an employee of GAFFNEY LAW and is a

 3   person of such age and discretion as to be competent to serve papers.

 4            That on December 28, 2017, I served an electronic copy of the above and foregoing

 5   UNOPPOSED MOTION TO CONDUCT A PRE-PLEA PRESENTENCE INVESTIGATION

 6   REPORT AND PROPOSED ORDER by electronic service (ECF) to the person(s) named

 7   below:

 8                           DANIEL G. BOGDEN
                             United States Attorney
 9                           333 Las Vegas Blvd. South, #5000
                             Las Vegas, NV 89101
10                           Counsel for United States

11                           ROBERT KNIEF
                             Assistant United States Attorney
12                           333 Las Vegas Blvd. South, #5000
                             Las Vegas, NV 89101
13                           Counsel for United States

14

15                                                /s/  Lucas Gaffney                      x
                                                  Employee of Gaffney Law
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